        Case 1:22-mc-91079-DJC Document 13-1 Filed 03/07/22 Page 1 of 3




                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

Erik Johnson, an individual,

                   Plaintiff,
v.

Proctorio, Inc., a Delaware corporation,
                                                     Case No. 1:22-mc-91079
               Defendant.                            U.S. District Court for the District of Massachusetts
___________________________________
                                                     Case No. 2:21-cv-00691-DLR
Proctorio, Inc., a Delaware corporation,             U.S. District Court for the District of Arizona

                   Counterclaimant,
v.

Erik Johnson, an individual,

                   Counterdefendant.



                            DECLARATION OF JACOB CANTER

       I, Jacob Canter, declare as follows:

       1.      I am a lawyer at the law firm Crowell & Moring LLP and counsel for Defendant

Proctorio, Inc. (“Proctorio”). I make this declaration in support of Proctorio’s Motion to File

Documents Under Seal.

       2.      I make this declaration based on my own personal knowledge or information and

belief, where indicated. If called as a witness, I could and would testify competently to the truth

of the matters set forth herein.

       3.      In my role as counsel for Proctorio, I have been part of substantially all

communications with the company related to this litigation since Crowell & Moring LLP was

retained by Proctorio.

       4.      While representing Proctorio, I have been involved in all correspondence with

Fight for the Future (“FFTF”) and have reviewed all of the materials produced or filed by FFTF.

                                                 1
        Case 1:22-mc-91079-DJC Document 13-1 Filed 03/07/22 Page 2 of 3




       5.       As part of the conferral process, I provided counsel for FFTF with the Protective

Order issued in the litigation taking place in the District of Arizona. A true and correct copy of

the Protective Order can be found on pages 72-89 of the Exhibit JC-1, which I sent to counsel

for FFTF on January 12, 2022.

       6.       As part of the conferral process, counsel for FFTF stated that all documents and

communications in FFTF’s possession which are responsive to RFP No. 1 have been produced.

A true and correct copy of this representation can be seen on page 1 of the email attached to this

Declaration as Exhibit JC-2. When produced to Proctorio, these documents were not designated

as confidential.

       7.       The Memorandum of Law in Support of the Motion to Quash states that “FFTF

produced all correspondence in its possession between FFTF and Johnson, fulfilling Request

(1).” Dkt. No. 2 at 4. Consistent with this statement, paragraphs 8-10 of the Declaration of

Maria Crimi Speth states that FFTF produced all correspondence in its possession between FFTF

and Johnson. Declaration of Maria Crimi Speth ¶¶ 8‐10.

       7.       As part of my preparation for the brief in opposition to the motion, I identified a

document produced by Johnson that is a communication between he and FFTF, but that was not

produced by FFTF.

       8.       After recognizing that FFTF’s response to Request for Production No. 1 appears

incomplete, I informed FFTF’s counsel about the perceived misstep in FFTF’s production and

the potential misstatement to me and to the Court. A true and correct copy of my notice to

counsel for FFTF can be found on pages 8-11 of the email attached to this Declaration as

Exhibit JC-3.

       9.       On March 6, 2022, counsel for FFTF confirmed that this document was in FFTF’s



                                                  2
        Case 1:22-mc-91079-DJC Document 13-1 Filed 03/07/22 Page 3 of 3




possession and control, that FFTF had not fully complied with RFP No. 1, and that the

representations made in the Memorandum of Law and accompany Declaration were false. A

true and correct copy of this correspondence can be found on pages 7-8 of Exhibit JC-3.

       10.    This morning, FFTF produced the document to Proctorio. At the time of

production, the document was not designated as confidential.

       11.    Later in the day, FFTF stated that it intended to designate this document and all

other documents produced by FFTF as confidential. A true and correct copy of this

correspondence can be found on pages 3-5 of Exhibit JC-3.

       12.    For this reason, Proctorio seeks the Court’s permission to file the relevant

documents – FFTF 001-016 – under seal, consistent with FFTF’s designation request.



       I affirm under penalty of perjury that the foregoing is true and correct to the best of my

knowledge and belief.



Executed this 7th day of March, 2022 in Washington, D.C.




                                                                          Jacob Canter




                                                 3
